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                      IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF MISSISSIPPI
                                 DELTA DIVISION


DESOTO COUNTY, MISSISSIPPI BRANCH
OF THE NAACP, ET AL.                                                                   PLAINTIFF

v.                                                 CIVIL ACTION NO. 2:11CV00040-SA-JMV

DESOTO COUNTY, MISSISSIPPI
BOARD OF SUPERVISORS, ET AL.                                                       DEFENDANTS

                                             ORDER

       After some inquiry, the court has determined that a critical issue of whether this case

should proceed is currently pending in the United States Court of Appeals for the Fifth Circuit in

Hancock County Board of Supervisors v. Ruhr, No. 11-60446. The court concludes that this

action should be stayed in the interest of the parties and judicial efficiency. Accordingly, it is

       ORDERED:

       That this action is stayed until March 31, 2012, or until Hancock County Board of

Supervisors v. Ruhr, No. 11-60446, is decided by the Fifth Circuit, whichever occurs first. If the

Fifth Circuit decides the case before March 31, 2012, counsel must contact the court within

fourteen days of that decision to obtain a date for a status conference.

       This the 13th day of December, 2011.


                                                   /s/ Jane M. Virden
                                                   UNITED STATES MAGISTRATE JUDGE
